         Case 1:17-cv-01994-YK Document 24 Filed 11/07/18 Page 1 of 1



                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

SHAWN BEACHLER,                             :
         Plaintiff                          :          No. 1:17-cv-01994
                                            :
             v.                             :          (Judge Kane)
                                            :
CON-WAY FREIGHT, INC., et al.,              :
         Defendants                         :

                                         ORDER

      AND NOW, on this 7th day of November 2018, upon consideration of the parties’

stipulation of dismissal (Doc. No. 23), IT IS ORDERED THAT the stipulation is

APPROVED, and the above-captioned action shall remain CLOSED.


                                                       s/ Yvette Kane
                                                       Yvette Kane, District Judge
                                                       United States District Court
                                                       Middle District of Pennsylvania
